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                          IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF UTAH, CENTRAL DIVISION


    MARY JOSEPHINE (JOSIE) VALDEZ,
    HOWARD STEPHENSON, DEEDA SEED,
    DANIEL DARGER, WILLIAM GRANT
    BAGLEY, and THOMAS NELSON HUCKIN,

         Plaintiffs,
                                                             ORDER DISMISSING CASE
    v.
                                                            Case No.: 2:15-cv-00584-RJS-DBP
    NATIONAL SECURITY AGENCY; GEORGE
    W. BUSH, in his individual capacity;                         Judge Robert J. Shelby
    MICHAEL V. HAYDEN, in his individual                     Magistrate Judge Dustin B. Pead
    capacity; RICHARD B. CHENEY, in his
    individual capacity; DAVID ADDINGTON, in
    his individual capacity; and DOES #1-50,
    inclusive,

         Defendants.


                                                                              1
            Before the court is Plaintiffs’ Motion to Dismiss Without Prejudice. Upon consideration

of the Plaintiffs’ Motion, and for good cause appearing, the court ORDERS that this matter be

dismissed without prejudice, the parties to bear their own costs and attorneys’ fees. The clerk of

court is directed to close the case.

            DATED this 27th day of September, 2018.

                                                    BY THE COURT:



                                                    ROBERT J. SHELBY
                                                    United States District Judge




1   Dkt. 63.
